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8
9                               UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11                                 SAN FRANCISCO DIVISION
12   UNITED STATES OF AMERICA,                )      Criminal No. CR 05-00167 WHA
                                              )
13           Plaintiff,                       )
                                              )
14                                            )      STIPULATION AND [PROPOSED]
                                              )      ORDER EXCLUDING TIME
15      v.                                    )
                                              )
16                                            )
                                              )
17   RONNIE CALLOWAY,                         )
         a/k/a “Oreo,”                        )
18                                            )
             Defendant.                       )
19                                            )
20
21             The above-captioned matter came before the Court on December 20, 2005, for
22   status. The defendant, RONNIE CALLOWAY, who was present and was represented by
23   Susan Raffanti, Esq., and the government was represented by Richard J. Cutler, Assistant
24   United States Attorney. The case was then continued to join the co-defendants’ case
25   currently set for status on March 29, 2006, at 2:00 p.m. The Court made a finding on the
26   record that the time between December 20, 2005, and March 29, 2006 should be excluded
27   under the Speedy Trial Act, 18 U.S.C. § 3161(h)(3)(B)(8) and Federal Rule of
28
     STIPULATION AND [PROPOSED]
     ORDER EXCLUDING TIME
     CR 05-00167 WHA
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1    Criminal Procedure 5.1, because the ends of justice served by taking such action
2    outweighed the best interest of the public and the defendant in a speedy trial. That
3    finding was based on the complexity of the case, the defendant’s request for additional
4    time to review an extensive amount of discovery material provided by the government, as
5    well as time to insure the effective preparation of her counsel. Counsel for the defendant
6    indicated a need for additional time to adequately prepare the matter, taking into account
7    the exercise of due diligence. That finding was made pursuant to 18 U.S.C. §§
8    3161(h)(8)(A) and (B)(ii).
9           The parties hereby agree to and request that the case be continued until March 29,
10   2006 at 2:00 p.m. and that an exclusion of time until that date be granted. The parties
11   agree and stipulate that the additional time is appropriate and necessary under Title 18,
12   United States Code, Sections 3161(h)(8)(A) and (B)(ii), because the ends of justice
13   served by this continuance outweigh the best interest of the public and the defendant in a
14   speedy trial.
15
16   DATED: 12/20/05                                  /S/
                                               SUSAN RAFFANTI, ESQ.,
17                                             Counsel for DEFENDANT
                                               RONNIE CALLOWAY
18
19
20   DATED: 12/20/05                                    /S/
                                               RICHARD J. CUTLER
21                                             Assistant United States Attorney
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23   SO ORDERED.                                             TA
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25   DATED: December 22, 2005                               IT IS S
                                               WILLIAM H. ALSUP
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26                                             UNITED STATES DISTRICT JUDGE
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27                                                          g e W i ll
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     CR 05-00167 WHA                              2                  D IS T IC
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